Case 18-82948-CRJ11   Doc 176 Filed 03/20/19 Entered 03/20/19 09:27:09   Desc
                        Main Document    Page 1 of 12
Case 18-82948-CRJ11   Doc 176 Filed 03/20/19 Entered 03/20/19 09:27:09   Desc
                        Main Document    Page 2 of 12
Case 18-82948-CRJ11   Doc 176 Filed 03/20/19 Entered 03/20/19 09:27:09   Desc
                        Main Document    Page 3 of 12
Case 18-82948-CRJ11   Doc 176 Filed 03/20/19 Entered 03/20/19 09:27:09   Desc
                        Main Document    Page 4 of 12
Case 18-82948-CRJ11   Doc 176 Filed 03/20/19 Entered 03/20/19 09:27:09   Desc
                        Main Document    Page 5 of 12
Case 18-82948-CRJ11   Doc 176 Filed 03/20/19 Entered 03/20/19 09:27:09   Desc
                        Main Document    Page 6 of 12
Case 18-82948-CRJ11   Doc 176 Filed 03/20/19 Entered 03/20/19 09:27:09   Desc
                        Main Document    Page 7 of 12
Case 18-82948-CRJ11   Doc 176 Filed 03/20/19 Entered 03/20/19 09:27:09   Desc
                        Main Document    Page 8 of 12
Case 18-82948-CRJ11   Doc 176 Filed 03/20/19 Entered 03/20/19 09:27:09   Desc
                        Main Document    Page 9 of 12
Case 18-82948-CRJ11   Doc 176 Filed 03/20/19 Entered 03/20/19 09:27:09   Desc
                       Main Document    Page 10 of 12
Case 18-82948-CRJ11   Doc 176 Filed 03/20/19 Entered 03/20/19 09:27:09   Desc
                       Main Document    Page 11 of 12
Case 18-82948-CRJ11   Doc 176 Filed 03/20/19 Entered 03/20/19 09:27:09   Desc
                       Main Document    Page 12 of 12
